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 1                                                                                Hon. Richard A. Jones

 2

 3

 4

 5

 6

 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE

 9
     ABHIJIT BAGAL,
10
                            Plaintiff,                   No.    2:23-cv-00721-RAJ
11
                    vs.                                  DEFENDANTS’ MOTION TO DISMISS
12                                                       UNDER FRCP 12(b)(1) and 12(b)(6)
     KSHAMA SAWANT, in her official and
13   individual capacities, as Councilmember,            NOTE ON MOTION CALENDAR:
     Position 3, Seattle City Council; LISA              August 18, 2023
14   HERBOLD, in her official and individual
     capacities, as Councilmember, District 1, of the
15   Seattle City Council and BRUCE HARRELL,
     in his official and individual capacities, as the
16   Mayor of the City of Seattle,

17                                  Defendants.

18
                           I.      INTRODUCTION & RELIEF REQUESTED
19
            Plaintiff filed this lawsuit on May 11, 2023, challenging the Seattle City Council’s decision
20
     to expand its anti-discrimination laws by adding “caste” as a protected class. Plaintiff’s Complaint
21
     should be dismissed for lack of standing, under Federal Rule of Civil Procedure 12(b)(1), and failure
22
     to state a claim upon which relief can be granted, under Rule 12(b)(6).
23


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 1           Plaintiff asserts that elements of his biography, eating habits, dress, and his wife’s last name,

 2   mark him as a member of an “oppressor” caste. Compl. ¶¶ 56-57. However, Plaintiff states that he

 3   himself does not believe in caste, identify with any caste, or believe that the Hindu religion includes

 4   the concept of caste. Id. ¶¶ 31-32. Defendants do not question Plaintiff’s beliefs and perceptions.

 5   However, it is self-evident that the existence of a white American who asserts that they are color-

 6   blind and do not see race provides no justification to invalidate anti-racial-discrimination laws. That

 7   is the argument presented by Plaintiff’s lawsuit.

 8           Indeed, all of Plaintiffs’ arguments could apply with equal force to anti-racial-discrimination

 9   laws. Plaintiff asserts that “caste” is difficult to define. Id. ¶ 18. But “race” is not easy to define either.

10   Davis v. Guam, 932 F.3d 822, 836 (9th Cir. 2019) (“[R]ace is a difficult concept to define.”). Plaintiff

11   claims that the Anti Caste Discrimination Ordinance will “forcefully assign[] a caste” to him. Compl.

12   ¶ 44. That is analogous to claiming that laws which prohibit discrimination based on race or sexual

13   orientation require the government to “assign” a race or sexual orientation to the people who experience

14   discrimination on those which bases. They do not. Civil rights laws have existed for over one-hundred

15   years in this country. See 303 Creative LLC v. Elenis, 143 S. Ct. 2298, 2325-26 (2023) (Sotomayor, J.,

16   dissenting) (reviewing history of public accommodations civil rights laws in the United States).

17   Plaintiff’s arguments, if accepted, would undermine those laws.

18                                     II.      STATEMENT OF FACTS

19           1.       The Ordinance.

20           On February 21, 2023, the Seattle City Council discussed and voted to approve Council Bill

21   (CB) 120511 “relating to human rights; including protections against discrimination based on an

22

23


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 1   individual’s caste. . . .”1 The City Council made minor amendments and voted 6-1 in favor of amended

 2   CB 120511.2 Mayor Bruce Harrell signed CB 120511, now known as Ordinance 126767

 3   (“Ordinance”), on February 23, 2023.3

 4          The Ordinance adds caste as a protected class to the City’s pre-existing anti-discrimination

 5   laws relating to employment, housing, contracting, and public accommodations. It defines “caste” as

 6   a “system of rigid social stratification characterized by hereditary status, endogamy, and social

 7   barriers sanctioned by custom, law, or religion.4 In relevant part, 5 the Ordinance makes it:

 8      •   Unlawful for an individual to discriminate in the workplace based on caste or other protected
            category. SMC 14.04.030 (list of protected categories amended to add caste); see generally
 9          SMC Chapter 14.04 (defining and prohibiting various forms of workplace discrimination).

10      •   Unlawful for an individual to discriminate based on caste or other protected category in places
            of public accommodation. SMC 14.02.020 & 14.06.030(5) (list of protected categories
11          amended to add caste); see generally SMC Chapter 14.06 (defining and prohibiting various
            forms of discrimination in public accommodations).
12      •   Unlawful to discriminate in real estate prohibitions, landlord-tenant transactions, in section 8
            housing, in the construction of buildings, or to interfere with the quiet or peaceful possession
13          or enjoyment of real property based on caste or other protected category. SMC 14.08.020 &
            14.08.045 (list of protected categories amended to add caste); see generally SMC Ch. 14.08
14          (defining and prohibiting various forms of discrimination connected to real property).

15      •   Unlawful to deny someone access to use or enjoyment of a public park based on caste or other

16
            1
                   See http://seattle.legistar.com/View.ashx?M=F&ID=11707598&GUID=AA82FB2B-
17   D2E1-4982-9866-8FEA85615EA5 (Ordinance 126767, hereinafter “Ordinance”); see also Judith
     Basin Land Co. v. Fergus Cnty., Mont., 50 F.2d 792, 794 (9th Cir. 1931) (“Courts of the United States
18   take judicial notice of the laws of any state, whether depending on state statutes or judicial
     decisions.”). A copy of the Ordinance is attached as Exhibit A for convenience.
             2
19             Id.
             3
               Id.
             4
20             Id.
             5
               The Anti Caste Discrimination Ordinance also amends many code provisions that Plaintiff
21   does not appear to be challenging. See SMC 6.02.270 & 6.202.230 (City authorized to deny, revoke,
     or refuse to renew business license if licensee violates any law that prohibitions discrimination on the
22   basis of caste or other identified characteristics); SMC 3.110.260(B) (prohibiting public corporations
     from discrimination based on caste and other characteristics); SMC 4.80.020 (applies to the City as
23   an employer); SMC 14.10.010 (no discrimination in contracting), SMC 14.11.020 (police officers
     prohibited from discriminating).

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 1          protected category. SMC 18.12.280.
            The Seattle Office for Civil Rights (SOCR) is charged with enforcing the Anti Caste
 2
     Discrimination Ordinance.6
 3
                    1. Plaintiff’s Claims.
 4
            According to the Complaint, Plaintiff is a resident of North Carolina who lived in Seattle for
 5
     two years while attending Seattle University from 1995 to 1997.7 Plaintiff identifies as a “Hindu
 6
     American citizen and a first-generation immigrant from India.”8 He asserts that Seattle’s prohibition
 7
     of discrimination based on caste violates the First and Fourteenth Amendments.9 He asserts that the
 8
     Ordinance was designed to explicitly target members of the South Asian, and particularly the Indian,
 9
     community.10 He further alleges that the classification of caste as a protected class targets South
10
     Asians, particularly Indians, and members of the Hindu religion while providing an exemption for
11
     other races.11 Plaintiff challenges the Ordinance on the basis that it violates the Equal Protection
12
     Clause of the Fourteenth Amendment, the Free Exercise Clause of the First Amendment, the
13
     Establishment Clause of the First Amendment, and the Due Process Clause of the Fourteenth
14
     Amendment.12
15
                                III.    APPLICABLE LEGAL STANDARD
16
            “To survive a motion to dismiss [under Rule 12(b)(6)], a complaint must contain sufficient
17
     factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.
18
     Iqbal, 556 U.S. 662, 678 (2009) (quotation omitted). Unlike a complaint’s factual allegations, legal
19

20
            6
              Complaint, at p. 16, ¶ 54; Ordinance at pp. 6-7.
            7
21            Complaint, at p. 8 ¶¶ 19, 27.
            8
              Complaint, at p. 8, ¶¶ 19, 27.
            9
22            Complaint, at pp. 34-38, ¶¶ 90-111.
            10
               Complaint at p. 3, ¶ 8.
            11
23             Id. at pp. 8, ¶ 19.
            12
               Id. at pp. 39-46, ¶¶ 112-156.

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 1   conclusions are not entitled to an assumption of veracity. Iqbal, 556 U.S. at 678 (citing Bell Atl. Corp.

 2   v. Twombly, 550 U.S. 544, 555-56 (2007)).

 3          A challenge to a court’s subject matter jurisdiction due to standing is properly brought in a

 4   motion under Fed. R. Civ. P. 12(b)(1). White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000).

 5   Additionally, in ruling on a 12(b)(1) motion to dismiss for lack of jurisdiction, courts generally are

 6   “free to . . . resolv[e] factual disputes where necessary.” Augustine v. United States, 704 F.2d 1074,

 7   1077 (9th Cir.1983).

 8                                            IV.     ARGUMENT

 9      1. Plaintiff’s First and Fourteenth Amendment claims fail for lack of standing should be
           dismissed under FRCP 12(b)(1).
10
            Constitutional standing requires three elements:
11
            First, the plaintiff must have suffered an ‘injury in fact’—an invasion of a legally protected
12          interest which is (a) concrete and particularized, and (b) ‘actual or imminent, not ‘conjectural’
            or ‘hypothetical.’ Second, there must be a causal connection between the injury and the
13          conduct complained of—the injury has to be ‘fairly ... trace[able] to the challenged action of
            the defendant, and not... th[e] result [of] the independent action of some third party not before
14          the court.’ Third, it must be ‘likely,’ as opposed to merely “speculative,” that the injury will
            be “redressed by a favorable decision.’
15
     Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-61 (1992). The plaintiff bears the burden of proof to
16
     establish each of these elements. Id. at 561. Here, Plaintiff has not met this burden.
17
            Plaintiff appears to assert two types of injuries arising under the First and Fourteenth
18
     Amendments: first, Plaintiff argues that adding “caste” to a list of protected classes creates a general
19
     stigma and targets those that practice the Hindu religion and/or those that are of South Asian descent,
20
     particularly Indians; and second, Plaintiff argues that he fears prosecution for caste discrimination if
21
     he travels to Seattle. Neither of these claimed injuries is sufficient to confer standing.
22

23


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 1            A. Plaintiff’s First Amendment Claims.

 2            Plaintiff lacks standing to assert his First Amendment claims, namely that the Ordinance

 3   violates free expression of religion and that it is unconstitutionally vague. Plaintiff appears to fear

 4   enforcement of the municipal code sections affected by the Ordinance because the term caste “is not

 5   a term that is familiar to most Americans,” thus, he could be prosecuted for violations based on

 6   speculation.13 However, Plaintiff cannot demonstrate injury-in-fact and thus he lacks standing.

 7            Plaintiff appears to argue that the addition of caste to the list of protected classes for purposes

 8   of discrimination “ascribes a negative (and false) attribute to a particular faith – Hinduism – that is

 9   not neutral or general applicable since it singles out only a supposed practice of the Hindu religion.”14

10   By including caste in the list of protected classes, Plaintiff alleges that he is deemed to be

11   discriminatory based on his Hindu faith and that those from other religions are not deemed to be

12   discriminatory.15 He also claims that he faces “certainly impending injuries under the caste law.”16

13   Plaintiff, who has not resided in Seattle since 1997, appears to argue that he is afraid to travel to

14   Seattle to attend Seattle University alumni events and utilize the career services offered by the

15   university out of fear of having the Ordinance enforced against him.17 He claims that he will be

16   subject to enforcement action “based on [his] skin color/tone, occupation of ancestors, and/or diet.”18

17   For example, Plaintiff asserts that the Ordinance could be enforced against him for ordering a

18   vegetarian meal at the Seattle University Cafeteria or for wearing a religious marker, namely a Mauli,

19   on his wrist.19 None of those activities constitute discrimination based on caste.

20
     13
21      Id. at ¶ 57.
     14
        Complaint, at pp. 36, ¶ 98.
     15
        Id. at ¶¶ 99-100, 124.
22   16
        Id. at ¶ 114.
     17
        Complaint, at p. 10, ¶¶ 28-29.
23              18
                   Id.
                19
                   Id.


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 1               Consequently, any injuries Plaintiff may attempt to claim from the Ordinance are neither

 2   concrete or particularized, nor actual or imminent; they are, at best, hypothetical. In order for Plaintiff

 3   to be potentially injured by the effects of the Ordinance, he would have to (1) travel to Seattle from

 4   his home in North Carolina, (2) SOCR must take enforcement action against him because he has

 5   discriminated in a workplace, public accommodations, housing, or parks. Ordering a vegetarian meal

 6   or wearing a religious marker is insufficient to establish a credible threat of enforcement because it

 7   is not an act of discrimination under any of the City’s anti-discrimination laws and Plaintiff has not

 8   (and cannot) allege that it is. Plaintiff simply cannot demonstrate injury to have standing in this

 9   particular case.

10
                 B. Although not directly pleaded by Plaintiff, any argument that the Ordinance chills
11                  Plaintiff’s First Amendment rights should be dismissed for lack of standing under FRCP
                    12(b)(1).
12
                 Plaintiff repeatedly asserts that “Enforcing the caste law will not only cause Plaintiff (and
13
     others similarly situated) to live with the fear of being disciplined for committing
14
     discrimination . . . .”20 Although Plaintiff does not make a First Amendment challenge on this basis,
15
     Plaintiff’s claims appear to be an argument that Plaintiff’s freedom of religion would be chilled by
16
     the Ordinance. Plaintiff also appears to argue that he would be chilled from traveling to Seattle as a
17
     result of the Ordinance. Plaintiff lacks standing to make such arguments.
18
                 Any allegation that Plaintiff’s ability to practice his religion would be chilled is insufficient
19
     for standing because, again, the possibility of enforcement is not actual or imminent. Under the First
20
     Amendment, mere “[a]llegations of a subjective ‘chill’ are not an adequate substitute for a claim of
21
     specific present objective harm or a threat of specific future harm.” Clapper v. Amnesty Int’l USA,
22

23
     20
          Id. at p. 41, ¶ 127, p. 43, ¶ 140, p. 45, ¶ 153.


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 1   568 U.S. 398, 418 (2013). Again, under Lujan, the injury must be “actual or imminent, not

 2   ‘conjectural’ or ‘hypothetical,’” 504 U.S. at 560–61. “In order to have standing, therefore, a litigant

 3   alleging chill must still establish that a concrete harm—i.e., enforcement of a challenged statute—

 4   occurred or is imminent.” Morrison v. Bd. of Educ. of Boyd County, 521 F.3d 602, 610 (6th Cir.

 5   2008).

 6            Again, Plaintiff’s injuries are hypothetical at best. Plaintiff has not established that he will be

 7   prosecuted for discrimination specifically based on caste in the context of workplace, licensing,

 8   employment, public accommodations, housing practices, contracting, policing, or parks and

 9   recreation, if Plaintiff chooses to travel to Seattle. The possibility of Plaintiff being prosecuted for

10   such conduct does not present a credible threat of enforcement. Thus, any chilling argument made by

11   Plaintiff must similarly be dismissed for lack of standing.

12            2.       Even if Plaintiff has standing to bring some or all of his claims, Plaintiff’s claims

13   fail on the merits.

14            A.       Vagueness.

15            Plaintiff challenges the Ordinance on the basis that the term “caste” is unconstitutionally

16   vague in violation of the Fourteenth Amendment. In effect, this is a challenge to the laws modified

17   by the Ordinance.

18            Federal courts “must be cautious in determining the constitutionality of a municipal ordinance

19   where the state supreme court has not provided a controlling interpretation of its meaning.” Nunez by

20   Nunez v. City of San Diego, 114 F.3d 935, 939 (9th Cir. 1997). As a preliminary matter, the

21   Washington Supreme Court has not addressed whether the term “caste” is unconstitutionally vague.

22   However, Plaintiff has not met the burden of proving that the term “caste” is unconstitutionally vague.

23   The Ordinance defines “caste” as a “system of rigid social stratification characterized by hereditary


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 1   status, endogamy, and social barriers sanctioned by custom, law, or religion.” Plaintiff has not met

 2   the heavy burden of proving that the term “caste” is unconstitutionally vague.

 3           First, the City’s anti-discrimination laws are not vague “as applied” to Plaintiff, because it is

 4   abundantly clear that none of the City’s laws prohibit the conduct that he wants to engage in—e.g.,

 5   attending academic events, wearing a mauli, talking about his occupation, eating a vegetarian meal,

 6   etc. Accordingly, Plaintiff cannot himself complain that he does not have fair notice as to whether his

 7   conduct is proscribed. Therefore, he cannot prevail on a theory of lack of fair notice, because the

 8   Ordinance is not vague as applied to his own actions. Vill. of Hoffman Estates v. Flipside, Hoffman

 9   Estates, 455 U.S. 489, 495 (1982).

10           Second, the City’s anti-discrimination laws are not facially impermissibly vague. A statute is

11   unconstitutionally vague on its face only if it is vague in all its applications. Hotel & Motel Ass’n of

12   Oakland v. City of Oakland, 344 F.3d 959, 972 (9th Cir. 2003) The Supreme Court has explained that

13   “speculation about possible vagueness in hypothetical situations not before the Court will not support

14   a facial attack on a statute when it is surely valid in the vast majority of its intended applications. Hill

15   v. Colorado, 530 U.S. 703, 733 (2000) (citations and internal quotation marks omitted). Plaintiff has

16   not cited even a single example of a factual situation in which it would be unclear under the Ordinance

17   whether or not the conduct constitutes caste discrimination. Accordingly, his vagueness claim must

18   be dismissed.

19           B. Free Exercise.

20           The Free Exercise Clause of the First Amendment bars laws “prohibiting the free exercise [of

21   religion.]” U.S. Const. amend. I. The Anti Caste Discrimination Ordinance does not expressly burden

22   any individual’s religious practice or draw any express distinction based on religion. Plaintiff suggests

23   that it applies only to “persons of Indian/South Asian Origin and members of the Hindu religion” and


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 1   “provide[s] exemption” to other groups. Compl. ¶ 20. It appears that Plaintiff may be under the

 2   misimpression that the Ordinance allows certain groups, white people for example, to discriminate

 3   against individuals based on their caste; it does not. Rather, the Ordinance is, on its face, neutral and

 4   generally applicable. Accordingly, even if the Ordinance has an incidental burden on Plaintiff’s

 5   religious practice, rational basis rather than strict scrutiny review applies. Stormans, Inc. v. Selecky,

 6   586 F.3d 1109, 1129 (9th Cir. 2009) (“[A] law that is neutral and of general applicability need not be

 7   justified by a compelling governmental interest even if the law has the incidental effect of burdening a

 8   particular religious practice.” (quoting Church of Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S.

 9   520, 531 (1993)); accord Am. Family Ass'n, Inc. v. City & Cty. of S.F., 277 F.3d 1114, 1123–24 (9th

10   Cir. 2002). The Ordinance easily survives rational basis review, because fighting discrimination and

11   ensuring equality in the workplace, housing, real estate, public accommodations, and public parks are

12   plainly government interests of the utmost importance.

13          Here, however, Plaintiff cannot make it past the first step of the analysis, because he does not

14   assert any burden on his exercise of religion. A Free Exercise claim must be based on a compulsory

15   government action that burdens religious practice, but Plaintiff does not “allege any specific religious

16   conduct that was affected by the” Anti Caste Discrimination Ordinance. See American Family, 277

17   F.3d at 1124. Plaintiff simply does not assert that he is prevented in any way from practicing his faith.

18          Here, at most, Plaintiff has asserted that aspects of the Anti Caste Discrimination Ordinance

19   offend him. He states that the word “caste” is a “pejorative and demeaning term.” Compl. ¶ 22.

20   However, the Ninth Circuit has held that “[o]ffensive content that does not penalize, interfere with, or

21   otherwise burden religious exercise does not violate Free Exercise rights.” California Parents for the

22   Equalization of Educ. Materials v. Torlakson, 973 F.3d 1010, 1020 (9th Cir. 2020). “An actual burden

23


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 1   on the profession or exercise of religion is required.” Id. (quoting Grove v. Mead Sch. Dist. No. 354,

 2   753 F.2d 1528, 1543 (9th Cir. 1985) (Canby, J., concurring)).

 3          The Ninth Circuit addressed an analogous claim brought by Hindu parents challenging the

 4   history curriculum of California public schools. California Parents, 973 F.3d 1010. The parents

 5   claimed, among other things, that the curriculum unfairly singled Hinduism out for negative treatment

 6   by teaching that caste “was a cultural and social structure as well as a religious belief.” Id. at 1014.

 7   The Ninth Circuit upheld dismissal of the parents’ Free Exercise claim at the motion-to-dismiss stage

 8   on the basis that they had not adequately alleged a burden on religious exercise. Id. at 1020.

 9          Nor does Plaintiff allege any expression of hostility toward Hindu Americans. In Masterpiece

10   Cakeshop, Ltd. v. Colorado C.R. Comm’n, the Supreme Court addressed a Free Exercise claim

11   involving expressions of hostility by government officials who were deciding a civil-rights claim

12   against the plaintiff. 138 S.Ct. 1719, 1729 (2018). The Court held that an expression of “clear and

13   impermissible hostility toward the sincere religious beliefs interfered with the claimant's Free Exercise

14   rights during that adjudicatory process.” Id. Plaintiff alleges no expressions of hostility by any City

15   official toward Hindu Americans here.

16          Accordingly, Plaintiff’s Free Exercise claim should be dismissed with prejudice because his

17   allegations suggest at most that the Anti Caste Discrimination Ordinance is offensive to his beliefs.”

18   California Parents, 973 F.3d at 1020.

19          C.      Establishment Clause.

20          The First Amendment of the United States Constitution states: “Congress shall make no law

21   respecting an establishment of religion, or prohibiting the free exercise thereof.” “The clearest

22   command of the Establishment Clause is that one religious denomination cannot be officially

23   preferred over another.” Larson v. Valente, 456 U.S. 228, 244, 102 S.Ct. 1673, 72 L.Ed.2d 33 (1982).


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 1   “A government practice has the effect of impermissibly advancing or disapproving of religion if it is

 2   sufficiently likely to be perceived by adherents of the controlling denominations as an endorsement,

 3   and by nonadherents as a disapproval, or their individual religious choices.” Brown v. Woodland Joint

 4   Unified Sch. Dist., 27 F.3d 1373, 1378 (9th Cir. 1994) (internal citations omitted). Government action

 5   is permissible if the “principal or primary effect” neither advances nor inhibits religion . . . ."

 6   California Parents for Equalization of Educ. Materials v. Torlakson, 370 F. Supp. 3d 1057, 1067

 7   (N.D. Cal. 2019). This test asks: “whether it would be objectively reasonable for the government

 8   action to be construed as sending primarily a message of either endorsement or disapproval of

 9   religion.” Id. (citing Vernon v. City of Los Angeles, 27 F.3d 1385, 1398 (9th Cir. 1994). In

10   determining whether it disproves of religion, the question is whether an “objective, reasonable

11   observer would find much of the challenged material entirely unobjectionable.” California Parents

12   for the Equalization of Educ. Materials v. Torlakson, 973 F.3d 1010, 1021 (9th Cir. 2020).

13          In Calif. Parents, the parents alleged that the new California public school curriculum

14   discriminated against Hindus by teaching, among other subjects, the caste system, as well as

15   portraying the Hindu curriculum as secular while discussing other religions in a non-secular manner.

16   973 F.3d 1010. The Ninth Circuit explained that a reasonable observer would not find much of the

17   challenged curriculum materials, such as a description of caste as a Hindu religious belief, or the

18   reference to an invasion, as having the primary effect of disparaging Hinduism. Id. at 1021. Even if

19   the materials had some hostility to religion, “they would not violate the Establishment clause unless

20   that were the “principal or primary effect.” Id. at 1022. In this case, no reasonable observer would

21   find the prohibition of caste discrimination to be objectionable, nor could any alleged hostility to

22   religion be the primary effect of banning caste discrimination. Accordingly, Plaintiff’s Establishment

23   Clause claim is like the parents’ claim in California Parents and must be dismissed.


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 1             In the present case, Plaintiff claims that, by adding caste as a protected class for purposes of

 2   specific laws, the Ordinance defines the contours of Hinduism.21 The plain text of the Ordinance does

 3   not support such a reading. The Ordinance does not define the term “caste” as connected to a

 4   particular religion. In fact, the opposite is true. The Findings Section of the Ordinance makes it

 5   explicitly clear that caste is not specific to, inherent in, or limited to Hinduism or South Asia.22

 6             D.     Equal Protection.

 7             Plaintiff also contends that the Anti Caste Discrimination Ordinance violates the Equal

 8   Protection Clause of the Fourteenth Amendment. Compl. ¶¶ 101-106. In support of this claim he asserts

 9   the following facts. Defendants “intentionally or implicitly intended to target members of the

10   Indian/South Asian community and adherents of the Hindu religion wrongly and unfairly for disparate

11   treatment under the new cast law…” Id. ¶ 8. He asserts that the Ordinance “unfairly singles out and

12   targets” and “treat[s] disparately people based on their ancestry, creed, . . . national origin, and

13   religion.” Id. ¶¶ 11, 20.

14             The Anti Caste Discrimination Ordinance is facially neutral, because it applies equally to all

15   people—no one is allowed to discrimination against another person based on caste, regardless of

16   whether the perpetrator is Hindu or Indian American and regardless of whether the perpetrator

17   themselves identifies as belong to a caste. Therefore, the anti-caste ordinance violates The Equal

18   Protection Clause if it both has a racially disparate impact and plaintiff adequately alleges that the City

19

20
     21
21        See Complaint, p. 43, ¶ 134.

22
     22
        The Ordinance’s Findings section states: “Although caste is often associated with Hinduism and
     India, it transcends geographic boundaries, with caste-based discrimination showing up in Christian
23   and other religious communities, all over South Asia, and in Southeast Asian and African communities,
     including Japan, the Middle East, Nigeria, Somalia, and Senegal.” Ordinance, Findings Section 22(B).

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 1   Council was motivated to enact the statute at least in part by discriminatory animus. See Vill. of

 2   Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 265-66 (1977).

 3          Plaintiff here has not sufficiently alleged that City Council was motivated by animus. In making

 4   that determination, courts consider the following factors. First, “[t]he historical background of the

 5   decision.” Arlington Heights, 429 at 267. Second, “[t]he specific sequence of events leading up to the

 6   challenged decision also may shed some light on the decisionmaker's purposes.” Id. Third, departures

 7   from normal legislative procedures. Id. Fourth, whether the effect of the action “‘bears more heavily

 8   on one race than another’ may provide” evidence of animus. Id. at 266. Finally, legislative history is

 9   relevant. Id. at 268. The Arlington Heights factors are not exhaustive and no single factor is individually

10   dispositive. 429 U.S. at 268, 97 S.Ct. 555. “Whenever a challenger claims that a . . . law was enacted

11   with discriminatory intent, the burden of proof lies with the challenger.” Abbott v. Perez, 138 S. Ct.

12   2305, 2324 (2018).

13          Plaintiff has not met that burden. Plaintiff’s allegations regarding the legislative process are the

14   following:

15
        •   The below paragraph was added to the Ordinance during the legislative process in order to hide
            its discriminatory animus (¶ 3):
16
                  o “Although caste is often associated with Hinduism and India, it transcends geographic
17                  boundaries, with caste-based discrimination showing up in Christian and other religious
                    communities, all over South Asia, and in Southeast Asian and African communities,
18                  including Japan, the Middle East, Nigeria, Somalia, and Senegal.” Ordinance, Findings
                    Section 22(B).
19
        •   City Council broke its own protocol by not considering the draft ordinance in committee.
20          Compl. ¶ 4;
        •   The Ordinance “tak[es] the position that caste is inextricably intertwined with the Hindu
21          religion and India/South Asia.” Id. ¶ 8.
22      •   The Ordinance’s use of the word “caste” itself is pejorative and demeaning. Id. ¶ 22.

23      •   A City Council policy memorandum uses confusing definitions of caste taken from Merriam-
            Webster Dictionary and the United Nations Special Rapporteur on minority issues. Id. ¶ 55.

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 1          •   The legislative findings section of the Ordinance relies on “unscientific and spurious” data from
                an organization called Equality Labs. According to Plaintiff, Equality Labs is a Dalit rights
 2              group that “demonize[s] Indian and Hindu cultural and religious practices.” Equality Labs
                founder and political director have allegedly promoted hatred toward Hindu Americans. Id. ¶¶
 3              58-65, 68.

 4          •   The Ordinance’s preamble cites to an editorial published in the New York Times that purportedly
                “maps White American elitism to the upper castes of India.” Id. ¶ 66
 5          •   The Ordinance’s legislative findings cite to an out-of-state court case involving allegations of
                caste discrimination, but that court case has allegedly since been resolved in favor of defendant.
 6              Id. ¶ 67, 69-71, 79, 85.

 7              The only alleged facts in this list that arguably show animus are the allegations against the

 8   founder and political director of Equality Labs—not against any City councilmember. Plaintiff dose

 9   not assert that any of the councilmembers were familiar with the allegedly offensive statements made

10   by these officers. The Ordinance’s preamble describes Equality Labs as a “Dalit civil rights

11   organization dedicated to ending caste apartheid, gender-based violence, Islamophobia, white

12   supremacy, and religious intolerance.” That is also how Equality Labs is described on its own website23

13   and in news articles.24 Accordingly, Plaintiff is unable to state a claim for a violation of the Equal

14   Protection Clause because he has not sufficiently alleged legislative animus.

15              Although the Complaint does not sufficiently assert animus, Defendants will take the

16   opportunity to directly respond to Plaintiff’s allegation that the City Council broke its protocol by not

17   having a discussion about the draft law in committee. Compl. ¶ 4. The General Rules and Procedures

18   of the Seattle City Council, Rule III.A.1.c (page 12),25 set out the process for referring a bill directly to

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     23
          www.equalitylabs.org
20   24
          https://www.nytimes.com/2020/07/14/opinion/caste-cisco-indian-americans-discrimination.html
21   https://www.bbc.com/news/world-asia-india-
     65819688?at_bbc_team=editorial&at_format=link&at_campaign_type=owned&at_link_origin=BBCNews&at_link_id=5
22   658A46A-0674-11EE-A74B-FAF3D772BE90&at_ptr_name=twitter&at_link_type=web_link

                25
23              http://seattle.legistar.com/View.ashx?M=F&ID=10891766&GUID=4C3D3A1D-CF6B-
     4128-BCF7-2B9CA9F4449A

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 1   full council or instead referring it to committee. Plaintiff does not allege that process was not followed,

 2   and there is nothing in the rules that prohibits referral to full council.

 3           Plaintiff also asserts that the Ordinance “result[s] in racial profiling,” compl. ¶ 16 but alleges

 4   no factual allegations that could plausibly support such a conclusory assertion. Indeed, he does not

 5   allege that the City has taken enforcement action against even a single person for committing caste

 6   discrimination since the Ordinance took effect. Accordingly, the Court need not credit or address

 7   Plaintiffs’ allegation of racial profiling.

 8           Plaintiff baldly states that the Anti Caste Discrimination Ordinance will “forcefully assign[] a

 9   caste” to him. Compl. ¶ 44. The Court need not credit this assertion, which has no basis in the text of

10   the Ordinance. The falsity of this assertion is illustrated by the fact that laws prohibiting discrimination

11   based on race and sexual orientation have been enacted and implemented in jurisdictions nationwide.

12   See 303 Creative LLC v. Elenis, 143 S. Ct. 2298, 2327-30 (2023) (Sotomayor, J., dissenting). Plaintiff

13   is unable to plausibly assert that those laws require “assigning” a race or sexual orientation to the people

14   who experience those forms of discrimination.

15           Finally, Plaintiff argues that the Ordinance “declare[s] Plaintiff to be inherently

16   discriminatory.” Compl. ¶ 44. The complaint does not explain Plaintiff’s thinking on these points, but,

17   drawing reasonable inferences, Plaintiff seems to base his contentions on his own perception that most

18   people who commit acts of caste discrimination are Hindu Americans or of South Asian descent.26

19   Assuming for purpose of this motion that is factually true, as the Court must on a motion to dismiss, it

20   would not undercut in any way the important government purpose underlying the Ordinance. Plaintiff

21

22
              For example, Plaintiff asserts that the Ordinance “provide[s] exemption (from perpetrating
             26

23   caste discrimination) to other Americans e.g., White Americans, Chinese Americans, Native
     Americans/Alaska Natives, and Native Hawaiians & Other Pacific Islanders.” Compl. ¶ 20.

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 1   does not and cannot explain why it would be problematic for the City to seek to eradicate invidious

 2   discrimination within a minority community. Thus, even if Plaintiff’s allegations were proven, they do

 3   not undermine the substantial government purpose of making Seattle more equal.

 4          In sum, the Ordinance easily withstands rational basis review, and it does not violate the Equal

 5   Protection Clause.

 6                                             V. CONCLUSION

 7          For the foregoing reasons, this Court should dismiss the Plaintiff’s Complaint in its entirety

 8   under FRCP 12(b)(1) or 12(b)(6). Plaintiff has not met his burden to establish standing to bring the

 9   present suit; in addition, Plaintiff fails to state any claim upon which relief can be granted. Thus, the

10   Court lacks subject matter jurisdiction, and dismissal is appropriate.

11

12   DATED this 21st day of July, 2023.

13
     I certify that this memorandum contains 5,130 words, in compliance with the Local Civil Rule 7(e).
14

15
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 3                              Bruce Harrell, Mayor of the City of Seattle

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